                         Case 1:25-cr-10080-IT
2-6   5HYLVHG86'&0$       Document 3-2             Filed 09/30/24            Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: MA                      Category No.      II                    Investigating Agency                FBI

City    Newburyport                            5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                      &DVH1R
County       Essex
                                                6DPH'HIHQGDQW                     1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU
                                                6HDUFK:DUUDQW&DVH1XPEHU 24-MJ-6581-MPK, 24-MJ-6582-MPK, 24-MJ-6863-MPK
                                                55IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                 <HV       ✔ 1R
'HIHQGDQW1DPH       Christian Decristofaro                                                                -XYHQLOH          G <HV        ✔ 1R
                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV        ✔ 1R
$OLDV1DPH
$GGUHVV             4 Anderson Lane, Newburyport, MA

                      1984
%LUWKGDWH <URQO\ BBBBBB                5975
                               661 ODVW BBBBB         M
                                                       6H[BBBBBB         5DFHBBBBBBBBBBBBBBB           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                        $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       Meghan C. Cleary                                          %DU1XPEHULIDSSOLFDEOH 5526942

Interpreter:              <HV     ✔ 1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:       ✔ <HV           1R       ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        ✔
                                                                                                                                            1R

Matter to be SEALED:               ✔ <HV              1R

✔ :DUUDQW5HTXHVWHG                 5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                            
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH    2UGHUHGE\                                                RQ

Charging Document:                 ✔ &RPSODLQW                 G ,QIRUPDWLRQ                              ,QGLFWPHQW

Total # of Counts:                 G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ 1

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 9/30/2024                            6LJQDWXUHRI$86$V0HJKDQ&&OHDU\
                        Case 1:25-cr-10080-IT                    Document 3-2           Filed 09/30/24   Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                  Count Numbers

6HW     18 U.S.C.1343                                Wire Fraud                                              1
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
